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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA
                                                         DECISION AND ORDER
                                                              09-CR-331A
             v.


MICHAEL BOBBITT,

                                  Defendant.


I.     INTRODUCTION

       Pending before the Court is a motion (Dkt. No. 928) by defendant Michael

Bobbitt for reconsideration of detention and release on reasonable bail

conditions. Defendant’s new counsel urges the Court to revisit certain detention

factors, such as the absence of violent acts in the allegations of the Fourth

Superseding Indictment; his denial of any attempt to escape arrest and his

alternative explanation for what the Government perceived as an attempt to

escape when arrested; and the Government’s alleged exaggeration of his history

of parole and probation revocations. Besides the detention factors, however,

defendant notes that he has been in continuous federal custody since October 5,

2010—a span of over 32 months—and that further pretrial detention would be

punitive and would constitute a due-process violation. The Government opposes

release, stressing that much of the delay in this case resulted from defense

requests for extensions of time and defendant’s request to change appointed
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counsel, a request that the Court granted on April 5, 2013. The Government also

emphasizes that due-process analysis follows no bright-line rules as to when

detention becomes excessive.

        The Court held oral argument on June 13, 2013. For the reasons below,

the Court denies the motion but without prejudice to revisit detention if the

Government has not arranged for defendant’s trial to begin on or before January

15, 2014.

II.     BACKGROUND

        A.    History of Charges Against Defendant

        The docket for this case contains numerous discussions of the charges

facing this defendant and other defendants. The Court will not repeat those

discussions beyond noting very generally that the case concerns charges that

defendant and others operated and supported a violent street gang in the City of

Buffalo named the Tenth Street Gang. The allegations across all defendants

include allegations of murders, attempted murders, assaults, drug sales, and

firearm possession. On September 15, 2010, the Government filed a Second

Superseding Indictment in this case (Dkt. No. 69) that added defendant for the

first time and contained two counts against him. In Count One, the Government

accused defendant of racketeering conspiracy in violation of 18 U.S.C. § 1962(d).

The Government further alleged the following overt acts by defendant in

furtherance of the conspiracy:

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            1.     On or about July 23, 2006, defendants FORD and MICHAEL
                   BOBBITT trespassed in the upper apartment of 257 Whitney
                   Place, which apartment contained a box, plate, and a razor
                   blade containing cocaine residue, in the neighborhood
                   controlled by the 10th Street gang. (Dkt. No. 69 at 16.)

            2.     On or about August 20, 2008, defendant MICHAEL BOBBITT
                   possessed a Sturm Ruger 9mm semi-automatic pistol and a
                   Kel-Tec 9mm semi-automatic pistol in Buffalo, New York. (Id.
                   at 21.)

            3.     On or about July 11, 2009, defendants FORD, MICHAEL
                   BOBBITT, and BRANDON BOBBITT congregated outside of a
                   corner store located at 225 Virginia Avenue, Buffalo, New
                   York, in the neighborhood controlled by the 10th Street gang,
                   at which time defendant BRANDON BOBBITT was in
                   possession of a marijuana cigarette and defendant FORD was
                   in possession of approximately $896 U.S. currency. (Id. at
                   23.)

            4.     On or about August 23, 2009, defendants MICHAEL BOBBITT
                   and BRANDON BOBBITT possessed 22 small plastic
                   packages (“corners”) containing a quantity of cocaine at 240
                   Niagara Street, in the neighborhood controlled by the 10th
                   Street gang. (Id. at 24.)

            5.     On or about November 30, 2009, immediately prior to
                   PEEBLES’ possession of a quantity of cocaine base,
                   defendants FORD, MICHAEL BOBBITT, and BRANDON
                   BOBBITT congregated on the corner of Whitney Place and
                   Virginia Street and, at that time, defendant FORD was in
                   possession of over $600 U.S. currency. (Id. at 27.)

The Government also alleged, as a special factor for Count One, that defendant

“did knowingly, willfully, and unlawfully, combine, conspire, and agree together

and with others, known and unknown, to commit the following offenses, that is, to

possess with intent to distribute, and distribute, 50 grams or more of a mixture



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and substance containing cocaine base, and 5 kilograms or more of a mixture

and substance containing cocaine, Schedule II controlled substances, in

violation of Title 21, United States Code, Sections 846, 841(a)(1), and

841(b)(1)(A).” (Id. at 32–33.)

      In Count 46 of the Second Superseding Indictment, the Government

charged defendant and others with a conspiracy, under 21 U.S.C. § 846, “to

possess with intent to distribute, and distribute, 50 grams or more of a mixture

and substance containing cocaine base, a Schedule II controlled substance, 5

kilograms or more of a mixture and substance containing cocaine, a Schedule II

controlled substance, and a quantity of a mixture and substance containing

marijuana, a Schedule I controlled substance, in violation of Title 21, United

States Code, Sections 841(a)(1), 841(b)(1)(A), and 841(b)(1)(D).” (Id. at 100.)

      On April 28, 2011, the Government filed a Third Superseding Indictment

(Dkt. No. 226) against defendant and others. All of the previous charges against

defendant remained, in renumbered Counts 1 and 56, but the Government added

a charge (Count 57) of possession of firearms in furtherance of drug crimes in

violation of 18 U.S.C. §§ 924(c)(1) and 2. The Government filed a Fourth

Superseding Indictment on February 2, 2012. (Dkt. No. 408.) The Fourth

Superseding Indictment added other defendants but did not change the charges

against this defendant.




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      B.     Discovery and Course of This Case

      During the course of this case, both defendant and the Government made

decisions that contributed to the length of defendant’s pretrial detention.

Defendant filed one motion for an extension of time to file pretrial motions on

January 14, 2011 (Dkt. No. 166). The Third and Fourth Superseding Indictments

required new arraignments and a new pretrial schedule for all defendants. Once

all defendants had the extensions of time that they requested and filed their

pretrial motions, the Government requested extra time to respond to the motions

(Dkt. No. 582). On November 8, 2012, the Court held a status conference to

address a letter that defendant wrote complaining about his legal representation.

On November 16, 2012, defendant filed a motion for joinder (Dkt. No. 660) that

included a joinder of her request to dismiss the case on speedy trial grounds;

defendant asserted that he “has not filed any motions under the First, Second

and Third Indictments and has been ready for trial at all times.” (Id. at 4.) On

February 7, 2013, during omnibus evidentiary hearings, the Court again

addressed the relationship between defendant and counsel (see Dkt. No. 787).

Defendant complained about his now-former counsel again on February 12, 2013

(Dkt. No. 799). Another complaint from defendant on March 26, 2013 (Dkt. No.

850) led to a status conference that counsel failed to attend (Dkt. No. 859),

prompting the Court to appoint now-current counsel on April 5, 2013 (Dkt. No.

871). At a status conference on April 12, 2013 (Dkt. No. 875), new counsel

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confirmed that he received defendant’s file from former counsel but needed time

to review discovery. The Court allowed new counsel until June 12, 2013 to file

any additional pretrial motions that he considered appropriate.

      C.    Pending Bail Motion

      Defendant filed the pending motion for reconsideration of bail on May 31,

2013. Defendant revisits several arguments from his original detention

proceedings and then adds an argument about due process. With respect to

prior proceedings, defendant highlights that the charges against him did not

change in the last indictment and that none of the charges against him describe

acts of violence. Defendant denies that he attempted to flee when police arrested

him; he claims instead that he knew that police were looking for him and that,

when his house was surrounded, he threw open the window and stuck his head

and hands out to show that he was unarmed. Defendant argues that the

weapons imputed to him were found in an apartment that his sister and her

baby’s father occupied. Defendant asserts that he has only one parole violation

and only one prior firearm offense on his record, contrary to suggestions made at

the original detention proceedings. As for due process, defendant argues that his

detention of over 32 months is out of proportion to the nature of the charges

against him, which are far less serious than the charges against co-defendant

Matthew Smith. Defendant mentions Matthew Smith because the Court denied

Smith’s bail reconsideration motion in part based on the severity of the charges

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against him. (See Dkt. No. 841.) Defendant concludes by proposing that he can

stay with his sister and have a telephone line installed there for electronic

monitoring. Defendant proposes confinement to a halfway house as an

alternative living arrangements. Finally, defendant suggests that he may have

relatives who can come forward to execute a signature bond in lieu of posting

assets, given their financial hardship.

      The Government opposes each aspect of defendant’s motion. The

Government stands by the information proffered during the original detention

proceedings and objects to defendant’s attempts to alter the record of those

proceedings without filing a sworn affidavit that would create a factual dispute,

particularly with respect to the issue of evading arrest. The Government

reemphasizes that defendant faces serious charges related to a violent street

gang, even if the charges against this particular defendant are not quite as severe

as the charges against other defendants. Finally, the Government rebuts

defendant’s argument about due process by noting that defendant requested at

least one extension of time and also requested a change of counsel during the

course of the case. Given the breakdown of communication with former counsel

and the time that new counsel needed to catch up with ongoing proceedings, the

Government objects to being charged with any delay that stemmed from

extensions of time for the change of counsel. The Government also emphasizes

that the Second Circuit follows no bright-line rule regarding length of detention.

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III.     DISCUSSION

         A.    Reconsideration of Bail Generally

         Putting aside the issue of duration of detention, which receives separate

treatment below, the Court will begin assessing the pending motion by

addressing whether any other circumstances in the case have changed since the

last order of detention. Once the Court has issued a detention order, it may

reconsider that order and reopen the detention hearing “at any time before trial if

the judicial officer finds that information exists that was not known to the movant

at the time of the hearing and that has a material bearing on the issue whether

there are conditions of release that will reasonably assure the appearance of

such person as required and the safety of any other person and the community.”

18 U.S.C. § 3142(f)(2). “New and material information for Section 3142(f)(2)(B)

purposes consists of something other than a defendant’s own evaluation of his

character or the strength of the case against him: truly changed circumstances,

something unexpected, or a significant event.” U.S. v. Jerdine, No. 1:08 CR

00481, 2009 WL 4906564, at *3 (N.D. Ohio Dec. 18, 2009) (citation omitted).

Where evidence was available to defendant at the time of the hearing, the

hearing will not be reopened. See U.S. v. Dillon, 938 F.2d 1412, 1415 (1st Cir.

1991); U.S. v. Hare, 873 F.2d 796, 799 (5th Cir. 1989).

         Here, little substantive information has changed since defendant’s original

detention proceedings. The Third Superseding Indictment added a firearm

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charge that carried over to the Fourth Superseding Indictment. The omnibus

evidentiary hearings that the Court held earlier this year did not surprise

defendant or the Court with any new information but did bring forth testimony that

would appear to implicate defendant in racketeering activities should he proceed

to trial. Defendant disputes the circumstances of his arrest but did not request a

hearing about those circumstances; in any event, other factors continue to weigh

in favor of detention. Defendant continues to face serious charges, even if his

charges are not quite as severe as the charges against some of his co-

defendants. Defendant has a lengthy criminal record stretching back about a

decade that includes violent felony offenses, domestic incidents, and two

violations of either parole or bail. Additionally, defendant when arrested had

three active orders of protection against him and no permanent address; he

advised federal probation officers at the time that for about two weeks before his

arrest, he was staying wherever anyone would let him spend the night. Other

than attempting to challenge the allegations of fleeing arrest, defendant has

presented no new information that would ameliorate the numerous reasons

counseling against release. Under these circumstances, the Court finds a

substantive basis for defendant’s continued pretrial detention.

      B.     Analysis of Due Process

      Having assessed the substantive factors affecting defendant’s detention,

the Court now turns to defendants due-process challenge. “Simply put, even

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though substantive grounds exist for detention, has defendant’s detention grown

so long that his due-process rights override those substantive grounds?” U.S. v.

Rodriguez, No. 09-CR-331, 2012 WL 6690197, at *9 (W.D.N.Y. Dec. 21, 2012)

(Scott, M.J.) (citing U.S. v. Ojeda Rios, 846 F.2d 167, 168–69 (2d Cir. 1988)).

Answering that question requires careful consideration of constitutional and

Second Circuit criteria. “The government may detain a defendant prior to trial

consistent with the Due Process Clause of the Fifth Amendment so long as

confinement does not amount to punishment of the detainee. Absent an

expressed intention to punish, whether detention constitutes impermissible

punishment or permissible regulation turns on whether the government has a

nonpunitive reason for detention and whether detention appears excessive in

relation to the nonpunitive purpose. Pretrial detention of a defendant, when of

reasonable duration, serves important regulatory purposes, including the

prevention of flight and the protection of the community from a potentially

dangerous individual. However, when detention becomes excessively prolonged,

it may no longer be reasonable in relation to the regulatory goals of detention, in

which event a violation of due process occurs.” U.S. v. Millan, 4 F.3d 1038, 1043

(2d Cir. 1993) (internal quotation marks and citations omitted). “To determine

whether the length of pretrial detention has become constitutionally excessive, we

must weigh three factors: (i) the length of detention; (ii) the extent of the

prosecution’s responsibility for the delay of the trial; and (iii) the strength of the

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evidence upon which the detention was based, that is, the evidence concerning

risk of flight and danger to the safety of any other person or the community.” Id.

at 1043 (internal quotation marks and citations omitted). The Court will address

each of these factors in turn.

             1.     Length of Detention

      The first factor affecting a possible due-process violation is the total length

of defendant’s pretrial detention, regardless of any breakdown of responsibility

that occurs later in the analysis. See U.S. v. Gonzales Claudio, 806 F.2d 334,

340 (2d Cir. 1986) (beginning due-process analysis by “[f]ocusing first on the

duration of confinement” and acknowledging “the total time the defendants have

been in pretrial detention”). Courts that measure total pretrial detention count

actual detention plus likely prospective future detention; they ignore possible

future detention that is only speculative. See id. (assessing future scheduling that

is “without speculation”); see also Millan, 4 F.3d at 1044 (“In weighing potential

future detention, however, we take into account non-speculative aspects of future

confinement.”) (internal quotation marks and citations omitted). “While the length

of pretrial detention is a factor in determining whether due process has been

violated, the length of detention alone is not dispositive and will rarely by itself

offend due process.” U.S. v. El-Hage, 213 F.3d 74, 79 (2d Cir. 2000) (internal

quotation marks and citations omitted).




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      Here, the total length of defendant’s pretrial detention is stretching beyond

the bounds of current Second Circuit precedent. As the Court noted in

Rodriguez, current Second Circuit case law addressing due-process violations

has addressed detention periods lasting as long as about 33 months under

different circumstances. See Rodriguez, 2012 WL 6690197, at *11 (summarizing

Second Circuit cases). Defendant has been in continuous federal custody since

October 5, 2010 a length of over 32 months as of this writing. While the Court

wants to avoid any formulaic approach to due-process analysis, it does find this

length of detention troubling, especially given that defendant still does not have a

trial date. That said, defendant’s situation under this first factor of analysis differs

in two ways from the situation of former co-defendant Rodriguez, who had

somewhat similar charges. At the time of the Rodriguez decision, Rodriguez’s

pretrial detention had reached 38 months, with the Court estimating that the

detention would exceed 50 months by the time Rodriguez received a trial. In

contrast, this defendant’s ongoing detention is a little shorter, with a trial likely to

occur soon. Judge Arcara already has scheduled the first trial in this case for

September 10, 2013. Defendant is not in the first group of defendants that the

Government has proposed putting on trial in September (see Dkt. No. 932), but if

that first trial lasts no more than about 4–6 weeks then defendant, who is in the

Government’s proposed second group, likely would go to trial before the end of

the year.

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      Under these circumstances, the first factor in the due-process analysis

favors defendant, but not nearly in the way that it favored Rodriguez. Unlike

Rodriguez, defendant has faced a shorter length of detention and has much more

certainty about when he will go to trial.

               2.   Responsibility for Delay

      Next, the Court will consider the extent to which the Government is

responsible for the time that defendant has spent in pretrial detention. When

looking for “responsibility,” courts will consider any conduct intended to cause

delay. Courts also will charge to defendants time lost to motion practice that

could have proceeded in a more efficient or practical way. Cf. Gonzales Claudio,

806 F.2d at 341 (“[T]here is some basis for believing that defense counsel could

have proceeded more expeditiously by taking a less fragmented approach to

pretrial maneuvering.”). In between, though, lies a range of case-management

decisions by the Government that warrant at least some of the respect afforded to

prosecutorial discretion. See U.S. v. Orena, 986 F.2d 628, 631 (2d Cir. 1993)

(“[W]e decline to adopt a rule that would deter the government from seeking joint

trials (or consenting to severance) as a means of economizing judicial and other

resources.”). Courts generally avoid micromanaging cases, but respect for

prosecutorial discretion does not mean that the Government always should

receive complete absolution for decisions whose impact on pretrial detention is

foreseeable.

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      Here, both sides have made decisions over the course of this litigation that

have prolonged defendant’s pretrial detention and have neutralized this factor in

the due process analysis. The Government superseded the indictment twice

after bringing defendant into the case, the most recent indictment changing none

of the charges against defendant. The Government also asked for extra time to

respond to the various pretrial motions. Balanced against the Government’s

conduct, defendant also has asked for extra time and, more importantly,

requested a change of counsel. The change of counsel should not count entirely

against defendant because the Court agreed that a change was necessary, but

the change unavoidably required some delay to allow due counsel to assess the

case for himself. The Government had nothing to do with any delay stemming

from the change of counsel. The Court thus finds that this factor in the analysis

favors neither party.

             3.    Strength of the Proof

      As noted above and without infringing on the presumption of innocence,

the final factor in the due-process analysis requires the Court to consider the

strength of the Government’s evidence that defendant poses a risk of flight, a

danger to the community, or both. The details of the Court’s analysis appear

earlier in this Decision and Order. In short, defendant continues to face serious

drug, firearm, and racketeering / racketeering-conspiracy charges that, apart from

this due process analysis, would trigger a statutory presumption in favor of

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detention. The evidence that the Government would present at trial appears to

be strong and was aired openly during the omnibus evidentiary hearings.

Notably, the transcripts of the omnibus evidentiary hearings were available

immediately, yet defendant has not pointed to any developments from the

hearings that would indicate that the Government’s case has weakened since the

original detention proceedings. That is not to say that defendant bears any

burden of proof with respect to the strength of the Government’s case; the Court

simply points out that two weeks of evidentiary hearings earlier this year appear

not to have given it any reason to revisit, for bail purposes, the nature of the case

against defendant. Defendant also has a lengthy criminal history that includes a

parole and bail violation, multiple orders of protection, and unstable residences.

Ample reasons thus exist to believe that defendant has a motive to flee and

would pose a danger to the community despite lifelong ties to the Western New

York area. This final factor in the due process analysis thus favors the

Government.

      In the end, then, a review of the due-process factors shows one factor in

favor of defendant, one factor in favor of the Government, and one factor that

favors neither party. Given that defendant likely will go to trial in a few months,

prudence warrants a measured approach. The Government needs to bring this

defendant to trial soon, and the Court finds that January 15, 2014 is a reasonable

control date for the second group of defendants who will receive a trial. If the

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Government does not take all reasonable measures to arrange for defendant’s

trial to begin by that time then defendant may revisit the issue of detention and

should be prepared to discuss whether some or all of the bail conditions

proposed in Rodriguez would be appropriate.

IV.   CONCLUSION

      For all of the foregoing reasons, the Court denies defendant’s motion (Dkt.

No. 928), but without prejudice to reconsider if the Government does not arrange

for defendant’s trial to begin on or before January 15, 2014.

      SO ORDERED.
                                       __Bá [âz{ UA fvÉàà________
                                       HONORABLE HUGH B. SCOTT
                                       UNITED STATES MAGISTRATE JUDGE

DATED: June 17, 2013




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